Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 1 of 14




                  Exhibit 2
             Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 2 of 14

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RESOURCES


REGULATIONS




    Search Policies by Name or Keyword                                                                  Q SEARCH




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Conflicts of Commitment and                                                            RESPONSIBILITY OF

Conflicts of Interest                                                                  Assistant Vice President for
                                                                                       Conflicts of Interest
# TBD        APPROVED   July 1, 2020   • REVISED November 10, 2020        •
 EFFECTIVE   July 1, 2020

                                                                                       Resources

                                                                                         Conflicts of Interest
1. Policy Statement and Purpose                                                        Program

                                                                                         UFolio
The University of Florida encourages its Employees to engage in

activities supporting their professional growth, creating new knowledge

and ideas, and furthering the University's mission of excellence in                    Applies to
education, research, and service. University Employees' primary                        Faculty, Staff
professional obligation, however, is to act in the best interest of the
University and to maintain the highest ethical and professional

standards. A University Employee's Outside Activities or interests must                Keywords
not conflict, or appear to conflict, with their professional obligations to            Conflicts of Interest,
the University of Florida. Accordingly, this Policy establishes standards              Outside Activities,

and requirements to protect the University's financial wellbeing,                      Conflicts of Commitment
           Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 3 of 14
reputation, and legal obligations and provides a system for identifying,

reporting, and managing real or apparent conflicts.




2. Applicability

All University Employees as defined below. To the extent this Policy

conflicts with other University policies or procedures, this Policy shall

control.




3. Definitions

Conflict of Commitment: occurs when a University Employee engages in
an Outside Activity, either paid or unpaid, that could interfere with their

professional obligations to the University.



Conflict of Interest: occurs when a University Employee's financial,
professional, commercial or personal interests or activities outside of

the University affects, or appears to affect, their professional judgement

or obligations to the University.



Employee: University Faculty or Staff as defined herein.


Entity: any business, company, or other organization, whether public or
private, including without limitation any partnership, corporation,

limited liability corporation, unincorporated association, or other

institution or organization, whether for-profit or not-for-profit.



Faculty: all positions identified as Academic Personnel in the University
of Florida Regulation 7.003 Academic Personnel Employment Plan.



Financial Interest: Any monetary or equity interest held by or inuring to
an Employee or their Immediate Family Member which would create an

actual or apparent Conflict of Interest.



Immediate Family Member: an Employee's spouse, domestic partner,
child or stepchild, parent, parent-in-law, sibling, and anyone sharing the

employee's household (other than a tenant or employee).
           Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 4 of 14
Outside Activity: any paid or unpaid activity undertaken by an Employee

outside of the University which could create an actual or apparent

Conflict of Commitment or Conflict of Interest. Outside Activities may

include consulting, participating in civic or charitable organizations,

working as a technical or professional advisor or practitioner, or holding

a parttime job with another employer.



Reportable Outside Activity: any Outside Activity that is required to be

disclosed to the University through the UFOLIO system.



Staff: any regular, non-exempt or exempt employee in research,

academic, or administrative positions, including Technical, Executive,

Administrative and Managerial Support (TEAMS) staff; University

Support Personnel System (USPS) staff; and Other Support Personnel

(OSP) as defined in University of Florida Regulation 1.100.




4. Conflicts



      A. Guiding Principles

      Employees of the University of Florida must adhere to the highest

      ethical and professional standards. Good judgment is essential

      and no set of rules can adequately address the myriad of

      potential conflicts. If Employees have questions concerning a

      potential conflict of commitment or conflict of interest, they must

      first discuss these concerns with their supervisors. Real or

      apparent conflicts must be managed or disclosed as set forth in

      section 5 below.




      B. Conflicts of Commitment

      University Employees must commit their primary professional

      and intellectual energy towards supporting the University's

      mission of excellence in education, research and service. A

      Conflict of Commitment occurs when an Employee's professional
     Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 5 of 14
time or energy is devoted to Outside Activities adversely affecting

their capacity to satisfy their obligations to the University of

Florida.



Conflicts of Commitment usually involve time allocation. For

instance, when an Employee attempts to balance their University

responsibilities with Outside Activities such as consulting or

volunteering, they may be left with inadequate time to fulfil their

University responsibilities adequately.



Employees wishing to engage in an Outside Activity that may

present a Conflict of Commitment—however insignificant it may

seem to the Employee—must disclose the Outside Activity to

their supervisor and receive approval for before engaging in the

outside activity. Irrespective of disclosures, it is the responsibility

of University supervisors (in the case of Faculty, their department

chairs and deans) to identify and manage any Conflicts of

Commitment undertaken by their direct reports.



If the University determines an Outside Activity will result in a

Conflict of Commitment, the University may, in its sole discretion,

prohibit the individual from engaging in the activity; require the

individual take personal time off or a leave of absence to

participate in the activity; or implement other measures the

University deems reasonably necessary.




C. Conflict of Interest

Employees must avoid situations which interfere with—or

reasonably appear to interfere with—their professional

obligations to the University. Such situations might create an

appearance of impropriety and, therefore, must be disclosed. As

discussed below, Employees will use the UFOLIO system to

disclose Outside

Activities in which they wish to engage. When the University

determines a Conflict of Interest may exist with an Employee, the

University may, in its sole discretion, prohibit the individual from

engaging in the activity presenting a potential conflict; take

actions to limit the individual's activity; or implement other
        Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 6 of 14
   measures the University deems reasonably necessary to eliminate

   the potential conflict.




   D. Intellectual Property

   The University's mission includes fostering invention and the

   development of new patentable and non-patentable ideas,

   technologies, methodologies, copyrights and other creations of

   the human mind. The University attempts to license many of

   these innovations to commercial entities so the fruits of this

   innovation may reach the marketplace for the public good and

   provide resources for further innovation. The University,
   therefore, must be protected from both real and perceived

   disclosure of intellectual property with entities in which University
   inventors have personal or financial interests or are adverse to the

   University's interest. More information, including applicable

   definitions, the University's ownership rights to inventions and

   works can be found in the University's Intellectual Property Policy

   located here:

   http://generalcounseLufl.edu/media/generalcounselufledu/documents/IntellectualProperty-
   Policy.pdf




5. Disclosure Requirements



   A. When to Disclose

           1. Conflict of Interest:

                Regardless of whether an Outside Activity occurs

                during a University assignment or appointment,

                Employees must disclose certain Outside Activities and

                Financial Interests through the UFOLIO system (and

                receive approval through the UFOLIO System prior to

                commencing such activities or pursuing such

                interests), which may lead to a Conflict of Interest

                under the following circumstances:
Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 7 of 14

           1. Upon initial hiring or engagement with the

               University;

           2. Prior to acquiring a new Financial Interest;


          a    Prior to engaging in, or committing to engage

               in, an Outside Activity;


          4.   Prior to accepting a position or role which

               could reasonably be perceived as creating a

               Conflict of Interest;


           5. Prior to entering a relationship, including a

               familial relationship, which could reasonably

               be perceived as creating a Conflict of Interest;

               and


          6. At least annually, even if attesting to no

               change from previous disclosures.



 Employees failing to receive approval through the UFOLIO

 system prior to commencing an Outside Activity as

 required herein may be subject to administrative or

 disciplinary action as set forth in section 7 below. The

 absence of express disapproval of an outside activity does

 not constitute approval by the University.



 Regarding the annual reporting obligation in section 5(A)7

 above, Employees must annually disclose their Financial

 Interests and Outside Activities existing at that time or

 which existed in the previous calendar year. The University

 will make efforts to provide courtesy notice to Employees

 at least 30 days prior to their annual disclosure date.

 However, the failure to provide such notice or the failure of

 an Employee to receive such notice does not relieve an

 Employee of the obligation to make a timely annual

 disclosure.



 2. Conflict of Commitment:



 Employees must disclose to their supervisor any Outside

 Activity that may create a Conflict of Commitment, either
    Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 8 of 14
      alone or together with other Outside Activities, before
      engaging in the Outside Activity. Irrespective of whether an
      Outside Activity is disclosed, however, it is the
      responsibility of all supervisors to identify any Conflicts of
      Commitment undertaken by their direct reports and
      manage it appropriately. If a supervisor is unsure whether a
      given activity poses a Conflict of Commitment or how to
      manage it, the supervisor should consult with the dean or
      vice president to whom they report.




B. What to Disclose

The following potential Conflicts of Interest and Outside
Activities must be disclosed as provided below:



       1. Management or Material Interest: You, your spouse,
          dependent children, or relatives have a management
          position (e.g., officer, director, partner, proprietor), or a
          material (more that 5% ownership interest in the
          entity) financial interest in an entity that enters into
          any agreements or contracts with OF (e.g., service
          agreements, leases, sales agreements).

       2. Publicly-Traded Entity Payments/Ownership: You, your
          spouse, or dependent children receive payments or
          have an ownership interest of $5,000 or more
          (including shares, partnership stake, or derivative
          interests such as stock options) in a publicly-traded
          entity where the ownership interest reasonably
          appears to be related to your institutional
          responsibilities. [Note: This does not include if the
          ownership interest is managed by a third party such as
          a mutual or retirement fund.]

       3. Privately-Held Entity Ownership: You, your spouse, or
          dependent children have any ownership interest in a
          privately held entity where the ownership interest
          reasonably appears to be related to your institutional
          responsibilities.
Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 9 of 14
  4.   Public Office/Candidate: You are a candidate for public

       office or you hold public office.


  5. Outside Teaching Appointments: You have or you are

       seeking approval to hold a teaching appointment with

       any entity other than UF.


  6. Outside Research: You conduct or you are seeking

       approval to conduct any research at, or receive any

       research funding from or through, any entity other

       than UF. [Note: Research conducted at outside entities

       as part of a UF sponsored project or research funding

       received by UF does not need to be disclosed.]


  7. Classroom Works: You require or you are seeking

       approval to require students to purchase works used in

       your classroom you or your spouse created, authored

       or co-authored (e.g., textbook(s), computer software,

       electronic or digital media) and for which you or your

       spouse will receive, or anticipate receiving payment,

       loan, subscription, advance, deposit of money, service,

       or anything of value.


  8.   Royalties/Licensing/Copyright Income: You receive

       royalties, licensing fees and/or copyright income in

       excess of $5000 annually from an entity other than UF.

  9.   Expert Witness/Legal Consulting: You serve or you are

       seeking approval to serve as an expert witness and/or

       engage in consulting in a legal matter like a lawsuit or a

       potential lawsuit.

10.    Professional Services Related to UF Expertise: You

       provide or you are seeking approval to provide paid or

       unpaid professional services to an outside entity and

       the professional services relate to your UF expertise.


 11.   Leadership Roles: You have a senior management,

       administrative, or leadership role, whether paid or

       unpaid, with an outside entity related to your UF

       expertise where you make executive business and/or

       financial decisions on behalf of the outside entity.
  Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 10 of 14



C. How to Disclose


    1. Conflict of Interest. Outside Activities and Financial
       Interests required to be disclosed under this Policy can
       be found at, and shall be made through, the
       University's online reporting system, UFOLIO or as
       otherwise directed by the Office of the Provost for non-
       faculty employees. UFOLIO,
       including disclosure instructions, FAQ and other
       information, can be accessed
       here: https://compliance.ufl.edu/ufolio/

    2. Conflict of Commitment. Disclosure of a potential
       Conflict of Commitment shall be made to the
       University Employee's supervisor in the manner
       specified by the respective Employee's department. In
       the absence of a specified manner for approval of a
       Conflict of Commitment, the Employee must at least
       obtain approval from the Employee's supervisor in
       writing and in a form that demonstrates the supervisor
       was informed of the full extent of the Outside Activity
       and commitment prior to approval. Outside Activities
       presenting a potential Conflict of Commitment must be
       disclosed and approved before the Employee
       undertakes the activity.




D. Failure to Disclose


    1. Failure to disclose a Reportable Outside Activity by a
       respective deadline shall result in a written notification
       from the University, with copies to the Employee's
       supervisor, department chair and dean, directing the
       Employee to complete their disclosure within 10
       business days.

    2. Failure to disclose more than 10 business days
       following the receipt of a delinquency notification shall
           Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 11 of 14
                   result in a written reprimand from the University, with

                   copies to the Employee's supervisor, department chair

                   and dean, as applicable, indicating the Employee must

                   complete their disclosure within 10 business days.


              3.   If an Employee fails to disclose more than 10 business

                   days following receipt of a written reprimand, the

                   University may take administrative or disciplinary

                   action against the Employee up to and including

                   ermination of employment.

              4.   Failure to make truthful and complete disclosure of all

                   Reportable Outside Activities or Conflicts of

                   Commitment may subject the Employee to

                   administrative or disciplinary action as set forth in

                   section 7 below.




6. Review and Adjudication

For activities and interests disclosed through UFOLIO, the Assistant Vice

President for Conflicts of Interest and, depending upon the type of

activity or interest, other applicable designated University officials, will

determine whether a disclosed activity, interest or circumstance

presents a Conflict of Interest. In addition to an Employee's obligation to

report a potential Conflict of Commitment to the Employee's supervisor,

University supervisors shall be responsible for identifying any Conflict of

Commitment of their direct reports and managing the conflict

appropriately.




7. Policy Violations

The University may take administrative or disciplinary action concerning

violations of this Policy up to and including termination of employment.
           Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 12 of 14



Footnotes:

'Certain Outside Activities and Financial Interests must always be
disclosed as set forth in section 5 of this Policy. When in doubt,
supervisors must advise an Employee to disclose a potential conflict.




Popular Policies                        Recently Updated Policies
                                                                                  Previous versions and rescinded
• Conflicts of Commitment and             Volunteers                              policies are archived with the
  Conflicts of Interest                   November 9, 2021                        Office of the General Counsel.

• Alternate Work Location                 Tabling Events
                                          October 12, 2021
• Online/Internet Privacy
  Statement                             • Classification and
• Policy on Political Campaigning         Management of External
  on Campus                               Support
                                          October 6, 2021




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          Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 13 of 14
UNE.UF


Webmail


MyUFL


E-Learning




Directory




CAMPUS

Weather


Campus Map


Student Tours


Academic Calendar


Events


Statements




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Website Listing


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Case 1:21-cv-00184-MW-GRJ Document 31-2 Filed 12/03/21 Page 14 of 14
